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                          UNITED STATES DISTRICT COURT

                                DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

       V.

                                                         Case No. 22-mj-22
IL YA LICHTENSTEIN, and
                                                         Chief Judge Beryl A. Howell
HEATHER MORGAN

                             Defendant.




              [DEFENDANT'S PROPOSED] ORDER GRANTING MOTION FOR
            ADMISSION OF ATTORNEY ANIRUDH BANSAL PRO HAC VICE

       The Court has reviewed the Defendants' motion for admission of attorney Anirudh
Bansal pro hac vice. Upon consideration of that motion, the Court grants attorney Anirudh
Bansal pro hac vice admission to this Court.



IT IS SO ORDERED.

DATED:
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                                                   United States District Judge
